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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                                    ORLANDO DIVISION


UNITED STATES OF AMERICA

v.                                                                                         Case No. 6:07-cr-107-Orl-28UAM

RICARDO ENRIQUE PERLAZA

 JUDGE:                            John Antoon II                    COUNSEL FOR GOVT:                  Bruce S. Ambrose

 DEPUTY CLERK:                     Darleen Darley                    COUNSEL FOR DEFT(S):               H. Kyle Fletcher

 COURT REPORTER:                   Anthony Rolland                   PRETRIAL/PROBATION:                David J. Salce

 DATE/TIME:                        March 21, 2008                    INTERPRETER:                       None
                                   1:30-2:20 p.m.


                                  CLERK’S MINUTES ON CRIMINAL SENTENCING

Defendant is adjudged guilty on Count One of the First Superseding Information.
Government’s witness Karl Weiss.
Motion for Court to recognize defendant’s substantial assistance (Doc. No. 981) -   Granted.
IMPRISONMENT:         37 Months.
Court Recommends:      That defendant be incarcerated in a facility within the State of Florida and that defendant be screened for a
Boot Camp Program.
Supervised Release:    3 Years.
MANDATORY DRUG TESTING requirements are: Imposed.
Special Conditions of Supervised Release are:
        Participate in a program for treatment of narcotic addiction or drug or alcohol dependency.
        Community Service Program:        Perform 150 hours in lieu of paying a fine.
        Cooperate in the collection of DNA, as directed by the probation officer.
Fine and costs of imprisonment/supervision:     Waived.
Special Assessment:    $100.00.
DISMISSED COUNTS:          Original Indictment on the motion of U.S. Attorney.
Defendant is remanded to the custody of the U.S. Marshal.
Additional remarks:    Defendant is advised of right to appeal.
